




NO. 07-07-0440-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 10, 2007



______________________________





MORDEL DISHAUN STEBBINS, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee





_________________________________



FROM THE 47
TH
 DISTRICT COURT OF RANDALL COUNTY;



NO. 18286-A; HON. HAL MINER, PRESIDING



_______________________________



Abatement and Remand



_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Mordel Dishaun Stebbins (appellant) filed a notice of appeal from his conviction for delivery of a controlled substance on October 23, 2007. &nbsp;On the same day, the trial court filed its certification representing that appellant has the right of appeal. &nbsp;However, the appellate record reflects that appellant failed to sign the certification pursuant to Texas Rule of Appellate Procedure 25.2(d) which requires the certification to be signed by appellant and a copy served on him. &nbsp;&nbsp;

Consequently, we abate the appeal and remand the cause to the 47
th
 
District Court of Randall County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:


whether appellant desires to prosecute the appeal; and




2. &nbsp;	if appellant desires to prosecute the appeal, to obtain his signature on an amended trial court’s certification.



We further direct the trial court to issue findings of fact and conclusions of law addressing the foregoing subjects. &nbsp;Furthermore, the trial court shall also cause to be developed 1) a supplemental clerk’s record containing the amended trial court certification, if any, and 2) a reporter’s record transcribing the evidence and argument presented at the aforementioned hearing. &nbsp;Additionally, the trial court shall cause the supplemental clerk’s record to be filed with the clerk of this court on or before January 9, 2008. &nbsp;Should additional time be needed to perform these tasks, the trial court may request same on or before January 9, 2008.

It is so ordered.

Per Curiam

Do not publish.
	


